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    U.S. Department of Justice
                                                                                           PROCESS RECEIPT AND R~
                                                                                           See /nstmctions for "Service of Process by the U.S. Marshal "
                                                                                                                                                                  GI NAL
    United States Marshals Service                                                         on 1he reverse ofthis form.




        AT
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW·                                            N ,._ f

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                          A/            >-,.                           {)         \'                            Number of parties to be
                       47 l,-P'ti--ewooA

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (
Ttlephone Numbers , and EJtimated nmes Aroiloble For Service).                                                                                      -0       r-    •<
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                                                                                            0 DEFENDANT
                                                                                                               TELEPHONE NUMBER

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                                                                                                                                                           DATE  i
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I acknowledge r«:cipt for the 1oul         Total Proceu District            District       Signature or Authorized USMS Deputy or Clerk                            Date
number ofprocm indicated.                               of Origin           to Serve            JM JA }fJ
(Sig11<mlvfir.,1USM]R5ijmon!                    /             /136-             DJ,__L          1'/P'f fl.Jff pi1,       S'()ff                                               J{'/20!(/
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on the individual. company, corporation, etc., at the address :;hown above or on the individual, comp•ny, corp<1ral1on, clc., shown at the address msected below

0      I hereby ecnify and return that I am unable to locate the individual , company, corporat,oo, etc . named above (Set remurlu befow)

Name and lit le of individual served (if no/ shown above) ·                                                                               person of suitable age ~nd du-
                                                                                                                                       crction then rcs1d1ng m the dcrendant's
    /:~tM VC ttbHt111.srtt;J1~ tfJJ(. .S~tJ                                                    {!Al(llf;{T                             us11al place of abode
Address (comple1e on/J• ifdi/feN!nt than sho\1'n abol'e)                                                                       Date of Service       Time                      am
St.ML,                                                                                                                                                                         pm




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PRIOR EDITIONS                                                                                                                             FORM USM-285 (Rev. 12/15/80)
MAYBE USED
                                                          t. CLERK OF THE COURT                                                                 (lrutnacdons Rn. 12/08)
                  Case 3:19-cv-30103-KAR Document 10 Filed 08/30/19 Page 2 of 3

                     Case 3:19-cv-30103-KAR Document 6 Filed 07/31/19 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                                                      for the
                                        DISTRICT OF MASSACHUSETTS
                                                                                                   ORIGINAL

                        RICKEY ROGERS
                                       Plai111ij]
                                                                      Civil Action No. :
                                          V                           3:19-CV- 30103-KAR
                                                                                                                           .._,
                                                                                                                            _..:,     ~

        STATE AUTOMOBILE CORPORATION                                                                                        -"'     --:1
                                      Defendant
                                                                                                                  -:,      f':
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                                                                                                                                    00
                                          SUMMONS IN A CIVIL ACTION
                                                                                                               - -,..,                 .,
To: (Defendant's name and address)                                                                         {               -..      -,-
                                                                                                                               J    '·



     A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) -       or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) --- you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:




     If you fail to respond, judgment by default will be entered against you for the rel ief demanded in
the complaint. You also must file your answer or motion with the. court.




 ROBERT M. FARRELL
CLERK OF COURT

  Isl - Mary Finn
Signat11re of Clerk or Deputy Clerk


ISSUED ON 201!>-07-31 08:33:52.0, Clerk USDC DMA
                   Case 3:19-cv-30103-KAR Document 10 Filed 08/30/19 Page 3 of 3

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           Civil Action No.: 3:19- CV 30103- KAR                                                                      ORIGINAL
                                                           PROOF OF SERVICE

                   (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

               This summons for (name of individual and title, if any)

           was received by me on (date)_~~-0/,_l_f-+-/i~ o~)~~-


        ~ersonally served the summons on the individual at {place)                 5;r,rrl !/_t/11) /.,,f()8/U:,..           vc.
           _ M_.._5--'-,_,,5c.;.-J---'-
                                   >l¼   _ ___.~=ll'--'R.
                                       _ ,J            --~a~(f~11~-- - -on (date )_ _08       'I /4
                                                                                      --+-½_l ......j     t)~l'I.___ _ ~
                                                                                                     ,._'l,,_

        ~ I left the summons at the i.ndividual's residence or usual place of abode with (name)

                                                       , a person of suitable age and discretion who resides there,

           on (date) _ _ _ _ _ _ _ , and mailed a copy to the individual's last known address; or

        [ I served the summons on (name of indi vidual)                                                               , who is

           designated by law to accept service of process on behalfof(name of organization)_ _ _ _ __
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on (date) _                                       _      _ _ ; or

        D I returned the summons unexecuted because
                                                               - - - - - - - - - - - - - - - - ; or
        D Other (specify) :



           My fees are $    _Jf___      for travel and $  ____ff._       for services, for a total of$          I
           I declare under penalty of perjury that this information is true .




                                                                                              Server's Signature

                                                                   J14i4t_ fl. YMJlf~ '{)f/'1(1 II$. ~M.SIHJL ~/011
                                                                                             Printed name and title
                                                                    1/ ..>• JIIM.~t+AL-~         ~k,I..V1<:,"      !./0111    fS" /-11),(Cv/VI Jill.I~

                                                                     r<-l)OM    t./4'   °'    Cow~_,;; OH 1/3215"
                                                                                               Server's Address

Additional information regarding attempted service, etc :
